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10   Attorneys for Feingold Movants

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12
                                  UNITED STATES DISTRICT COURT
13
                                         DISTRICT OF NEVADA
14
     FEDERAL TRADE COMMISSION,                          Case No.: 2:12-cv-00536 GMN-VCF
15
                           Plaintiff,
16                                                      SECOND STIPULATION FOR
     v.                                                 EXTENSION OF TIME FOR
17                                                      FEINGOLD MOVANTS TO REPLY TO
     AMG SERVICES, INC., et al.,                        KIM TUCKER AND RELATED
18                                                      ENTITIES’ OPPOSITION TO MOTION
                           Defendants.                  TO VACATE
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21             IT IS HEREBY STIPULATED between the Feingold Movants, as that term is defined in
22   their Motion to Vacate Judgment (Doc. # 1341), and Kim Tucker and the Related Entities as those
23   terms are defined in their Opposition to the Motion to Vacate Judgment (Doc. #1359) that the
                                      Friday             17
24   Feingold Movants shall have until Tuesday, December 21, 2021 to file any reply they may have to
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      Case 2:12-cv-00536-GMN-VCF Document 1370 Filed 12/01/21 Page 2 of 3




 1   the Opposition. This stipulation is made without the purpose of delay, but, instead, to permit the

 2   parties additional time to discuss potential resolution of the matter.

 3   Dated: November 30, 2021                          Dated: November 30, 2021
 4   BRYAN CAVE LEIGHTON PAISNER DUANE MORRIS LLP
     LLP
 5
     By: /s/ Sean L. McElenney                         By: /s/ Tyson E. Hafen_______
 6      Sean K. McElenney (SBN 9122)                       Tyson E. Hafen (SBN 13139)
 7        Attorney for Kim Tucker and Related                Attorneys for Feingold Movants
          Entities
 8

 9                                            Reply is due Friday,
                                              December 17, 2021
10
                                              IT IS SO ORDERED.
11
                                                          1 day of November, 2021.
                                              Dated this ____
12

13
                                                                              12/1/21
14                                            ___________________________
                                              Gloria M. Navarro, District Judge
15                                            UNITED STATES DISTRICT COURT
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 1                                     CERTIFICATE OF SERVICE
 2             I hereby certify that on November 30, 2021, I served via CM/ECF and/or deposited for
 3   mailing in the U.S. Mail a true and correct copy of the foregoing SECOND STIPULATION FOR
 4   EXTENSION OF TIME FOR FEINGOLD MOVANTS TO REPLY TO KIM TUCKER AND
 5   RELATED ENTITIES’ OPPOSITION TO MOTION TO VACATE (postage prepaid if by U.S.
 6   Mail) and addressed to all parties and counsel as identified on the CM/ECF-generated Notice of
 7   Electronic Filing.
 8

 9                                                  /s/ Jana Dailey
                                                    Jana Dailey
10                                                  An employee of DUANE MORRIS LLP

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